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Codilis & Moody, P.C.
20405 State Highway 249, Suite 170
Houston, TX 77070 (281) 925-5200
ATTORNEYS FOR SECURED CREDITOR


                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

IN RE:                                                               §     CASE NO. 24-32537
Shawnda Elizabeth Richardson                                         §
DEBTOR                                                               §     CHAPTER 13



                                         OBJECTION TO CONFIRMATION
                                             (Related to Docket No. 25)

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage Securities Inc., Asset-Backed

Pass-Through Certificates, Series 2005-R8, its successors and/or assigns (“Creditor”), secured creditor and party in

interest in the above referenced case, files this Objection to Confirmation. In support of its Objection, Creditor

respectfully shows:

    1. Creditor retains a purchase money security interest in the real property located at 1635 W DONOVAN ST,

        HOUSTON, TX, 77091.            Creditor intends to file its Proof of Claim with proper documentation for

        $25,792.17 in pre-petition arrearages on the debt owed to it.

    2. The Chapter 13 Plan provides for pre-petition arrearages in the amount of $24,533.76 to Creditor.

    3. The Plan as proposed does not adequately comply with 11 U.S.C §1322(b)(2) and (5) as it does not

        adequately protect Creditor’s interest in this collateral.

    4. The Plan does not comply with 11 U.S.C §1325(a)(6) because it is not feasible as it does not adequately fund

        payment in full of Creditor’s prepetition arrearage claim.

    5. The Plan does not comply with 11 U.S.C. § 1325(a)(3) as it has not been proposed in good faith.

                 WHEREFORE, Creditor respectfully requests an Order sustaining its Objection to Confirmation and

for such other relief to which Creditor may show itself justly entitled, either at law or in equity.
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                                            Respectfully submitted,

                                            Codilis & Moody, P.C.

                                            By: /s/ Kathryn N. Dahlin
                                            Kathryn N. Dahlin SBOT#24053165
                                            Kerrie S. Mattson-Neal ARDC#6270224
                                            Nicole Bartee SBOT#24001674
                                            Marla A. Skeltis SBOT#24136182
                                            Peter C. Bastianen ARDC#6244346
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                                            File No. 44-24-00213
                                            ATTORNEYS FOR SECURED CREDITOR

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                                     CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Objection to Confirmation was served
on 7/29/2024 to the following parties at the addresses indicated by deposit in the United States Mail, first
class postage prepaid, and/or by electronic notice on 7/29/2024.


Shawnda Elizabeth Richardson
1635 W Donovan St
Houston, TX 77091
DEBTOR

Karen Kisch
6915 Kelsey Rae Court
Houston, TX 77069
ATTORNEY FOR DEBTOR

Tiffany D Castro
9821 Katy Freeway, Ste 590
Houston, TX 77024
CHAPTER 13 TRUSTEE

UNITED STATES TRUSTEE
515 RUSK SUITE 3516
HOUSTON, TX 77002


PARTIES REQUESTING NOTICE:
PHH Mortgage Corporation

1 Mortgage Way
Mount Laurel, NJ 08054
SECURED CREDITOR




                                                 Codilis & Moody, P.C.

                                                   /s/ Kathryn N. Dahlin
                                                  Kathryn N. Dahlin SBOT#24053165
                                                  Kerrie S. Mattson-Neal ARDC#6270224
                                                  Nicole Bartee SBOT#24001674
                                                  Marla A. Skeltis SBOT#24136182
                                                  Peter C. Bastianen ARDC#6244346
                                                  File No. 44-24-00213
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                                              ATTORNEYS FOR SECURED CREDITOR

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